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EXHIBIT “A”
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AO 440 (Rev. 06/12) Summons in a Civil Action

ee

UNITED STATES DISTRICT COURT

for the
EASTERN District of PENNSYLVANIA,

)
)
)
TROY LAMONT MOORE, SR. )
Plaintiff(s) )

v. Civil Action No. 14-3873
)
COMMISSIONER LOUIS GIORLA, MAJOR )
MARTIN, C.0. WALDEN, R.N. MEDICALNURSE __)
MC GROGAN )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

TROY LAMONT MOORE, SR, FE-2483
SCI-FOREST

P.O, BOX 945

MARIENVILLE, PA 16239-0945

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 6/26/2014

P. Rosser

Signature of Clerk or Deputy Clerk
Case 2:14-cv-03873-GJP Document 37-2

SOE TY PRUETT TIENT
‘

STATE#DISTRICT COURT
DISTRICT OF PENNSYLVANIA

ey ¥ Bamont Whore, Sr.

(In the space above enter the full name(s) of the plaintiff{(s).)

- against ~

Louis Giorla, Commissioner,

Mike

Major Martin, Corrections offficer
Walden and McGrogan 7° RN Meidcal

Nurse,.

(In the space above enter the full name(s) of the defendant(s). If you
cannot fit the names of all of the defendants in the space provided,
please write “see attached" in the space above and attach an
additional sheet of paper with the full list af names. The names
listed in the above caption must be identical to those contained in
Part |. Addresses should not be included here.)

I. Parties in this complaint:

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14

3873

COMPLAINT

unde? the

Civil Rights Act, 42 U.S.C. § 1983
(Prisoner Complaint)

Jury Trial: wves O No
‘, (check one)

F ILED

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i

A. List your name, identification number, and the name and address of your current place of
confinement. Do the same for any additional plaintiffs named, Attach additional sheets of paper

as necessary.

Plaintiff Name Troy Lamont Moore, Sr.

ID#__- Fe-2483

Current Institution SCI-Forest

Address P.O. Box 945, Marienville, Pa 16239-0945

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B. List all defendants’ names, positions, places of employment, and the address where each defendant
may be served. Make sure that the defendant(s) listed below are identical to those contained in the
above caption. Attach additional sheets of paper as necessary. :

Defendant No. 1 Name Louis Giorla Shield #1
Where Currently Employed Tndustrial Correctional Center
Address 8301 State Road
Philadelphia, Pa 19136

y
Defendant No. 2 Name__Major Martin Shield #___ 2
Where Currently Employed Industrial Correctional Center

Address 8301 State Road
Philadelphia, Pa 19136

Defendant No. 3 Name_Waldeny Correctional OfficerShield# 3

Where Currently Employed_Indusiriad Corfectional Center
Address 8301 State Road

Philadelphia, Pa 19136

Defendant No. 4 Name McGrogan, RN Medical Nurse — ghiela# 4

Where Currently Employed _ Industrial Correctional Center
Address 8301 State Road :

Philadelphia, Pa 19136 |

Defendant No. 5 Name Shield #
Where Currently Employed
Address

Ih Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates and Jocations of all relevant events.
You may wish to include further details such as the names of other persons involved in the events giving
rise to your claims. Do not cite any cases or statutes, If you intend to allege a nuniber of related claims,
number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary,

A. In what institution did the events giving rise to your claim(s) occur? PE ad
B. Where in the institution did the events giving rise to your claim(s) occur?
Ak ba. TA) CELL Lk # LHLE COL EB AL

REVALI EMT,
Cc What datg and approximate time did the evenjs giving rise to your claim(s) occur? ;
OM G1 (hl FP AT Bt EAL big ZS (Stet

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What
happened
to you?

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D. Facts; On 9-16-2013, at approximately 2315 hours, the toilet
in the cell violently overflowed _ every 20 minutes through out

b ece n j ess
of breath.and chest pains along with vomiting, I informed

Who
did
what?

Involved?

correctional officer Walden who ignored my request to remove
me out of that cell and to request medical attention. Afters

being covered in and subjected to breathing raw sewage in

access of 8 hours. I was permitted to go to medial where I
informed Rn Mcgrogan of chest pains. My pulse was taken and

I was ordered back to the block even after requesting nitro
glycerine which was denied. I have exhausted the grievance

levels and. conferencegd personally to Major Martin and
Commissioner Giorla to no avail.: Major Martin ordered the

video footage to be pulled and commissioner Giorla stated

Who else
saw what
happened?

the situation is to. be handled at the corrections officer

discretion. My cell 18 at G2 cell mate Gabriel Bassemy was
present during the incident and attached are two affidavits

from Larry Rodrigues #1125016 & Rodnmy J6éhnson 1013365

See, attached affidavits as Exhibit} & Exhihit 4

Ti. Injuries:

Tf you sustained injuries related to the events allezed above, describe them and state what medical

treatment, if any, you required and received. ppgpiissues: Shortness of breath,
vomiting, rash and prolonged chest pain due to exposure
of raw sewage and feces in excess of 8 hours and refusal

to provide medical treatment by prison officials.

Iv. Exhaustion of Administrative Remedies:

The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that “ [nJo action shall be
brought with respect to prison conditions under section 1983 of this title, or any other Federal law, by a

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prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as are
available are exhausted.” Administrative remedies are also known as grievance procedures.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

Yes x No

If YES, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

B. Does the jail, prison or other correctional facility where your claim(s) arose have a grievance
procedure?

Yes Y No Do Not Know

C, Does the grievance procedure at the jail, prison or other correctional facility where your claim(s)
arose cover some or all of your claim(s)?
Yes ¥, No Do Not Know

If YES, which claim(s)?

D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose?

Yes y No

If NO, did you file a grievance about the events described in this complaint at any other jail,
prison, or other correctional facility? i

Yes No v

E. If you did file a grievance, about the events described in this complaint, where did yori + file the
grievance?

AI PECL st

Which claim(s) in this complaint did you eet G0: LABS, DEF Je
ified Lill CilaebEl, bite al Cf) Et A Lelie P72.
2. What was the result, if any? DELEE
3. What steps, if any, did you take to appeal that decision? vee all efforts to appe deli

the highest level of the grievance process. LO, 4 Men Si

Lb 4 zZ Ape del

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F, Ifyou did not file a grievance:
1, If there are any reasons We. did not file a grievance, state them here:
Ltd Bh Led

2. If you did not file a grievance but informed any officials of your claim, state who you

informed, when and how, and their response, if any:

DO we; Aili

G. Please set forth any i information that is relevant to the exhaustion of your administrative

remedies. N
7

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Note: You may attach as exhibits to this complaint any documents related rd) of your
administrative remedies. [CERISE AEWEE Clef ¥ W/*2. sf)
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Sit tb lic Ay Fueled &
Y. Relief:

State what you want the Court to do for you (including the amount of monetary compensation, if any, that
you are seeking and the basis for such amount). REVIEW ATTACHED PAGE @A...

If plaintiff are able to reach a settlement with the
defendants in this case. Plaintiff would like to discuss

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STATEMENT OF CLAIM

1. Plaintiff state a claim alleging that his constitutional
rights was violated by Defendant. Walden. Plaintiff was on G2 in cell
18 residing in human waste and a toilet that over flowed several times.
Defendant Walden refused to permit plaintiff to clean-up the clean.
Nor would Walden allow plaintiff to move to another cell. Plaintiff
has suffered an actual injury of shortness of breath, vomiting, diarrhea
and facial rash/along with unnecessary achnes. :

2. Plaintiff demand for relief in damages in the amount of $35,000.
If video footage has been destroyed of said incident that plaintiff
instructed defendants to preserved. Plaintiff demand for relief in
damage in the amount of $35,000.00

3. Plaintiff state a claim alleging that his constitutional rights
was violated by Defendant McGrogan. Defendant McGrogan failed or refused
to provide the proper medical care to plaintiff suffering from shortness
of breath, vomiting, darrhea and facial rash along with unnecessary
achnes.

4. Plaintiff demand for relief in damage.:in the amount of $35,000.

5« Plaintiff state a claim alleging that his constitutional rights
violated by Defendant Martin. Plaintiffiinformed Martin in person’ that
he heuse on G2 at cell 18 living in human waste and received inadequate
medical care from defendant McGrogan. Deféndant Martin had, ample time
to correct the wrong of plaintiff's serious medical needs.:

6. Plaintiff demand for relief in damages in the amount of $35,000.

7. Plaintiff state a claim alleging that his constitutional rights
was violated by Defendant Giorla once Giorla reviewed video footage on
GA at cell 18. Nor would defendant Giorla correct the wrong plaintiff
receiving inadequate medical care by defendant McGrogan. Defendant
Giorla had knowledge of it, but instead Giorla deivated from their
policy. Defendant Giorla knew that plaintiff needed the proper medical
care residing in a cell with human waste.

8. Plaintiff demand for relief in damages in the amount of $35,000.

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9. Plaintiff state a claim alleging that his constitutional rights
was violated by Defendant Walden. Defendant Walden has "trippered"
plaintiff PTSD problems that reoccurred since tranatic incident on
9-16-2013, Plaintiff was on G2 in cell 18 residing in human waste
and a toilet that over flowed several times. Plaintiff requested to be
examined by mental health department. See, Exhibit 2-B for review.

10. Plaintiff demand for relief in damages in the amount of --
$35, 000.

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it with their attorneys once time is appropriate. Plaintiff

has stated his claims on page 5A for the court review.

On
these
claims

VI. Previous lawsuits:

A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?
Yes No Yl)

B. If your answer to A is YES, describe each lawsuit by answering questions 1 through 7. below. (If

there is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using
the same format. )

I. Parties to the previous lawsuit:

Plaintiff De Aha L.. CLL
Defendants De wel AY.

2, Court (if federal court, name the district; if ee court, name the county) je Ai of LAY
3. Docket or Index number /). Me TZ thle

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4, Name of Judge assigned to your case dD G Mal fb 7 jl Vise Coy
5. Approximate date of filing Jawsuit oe ALel ZU 4p Ye GE
6. Ts the case still pending? Yes _ _ po el lt fe “—

IfNO, give the approximate date of disposition JQ Aso/ 7 [2 (4 “

7, What was the result of the case? (For example: Was the case ee PSI
Judgment in your favor? Was the case appealed?) ‘A GC Ahe/

C, Have you filed other lawsuits in state or federal court?
Qn
ther
claims Yes_—Ss'No ¥
D. If your answer to C is YES, describe each lawsuit by answering questions | through 7 below. (If

there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using
the same format.)

1. Parties to the previous lawsuit:

Plaintiff De ths Ff Ls oe Lo
Defendants lo _plal TAL Lf
2, Court (if federal court, name the district; if state court, name the county) De Me TZ 4 fl" fe oo
3. Docket or Index number Do pléZ LD LWIEEY, Ze
4, Name of Judge assigned to your case fo Ma TL Alley.
5. Approximate date of filing lawsuit Ae Ali LME Lo
6. Isthe case still pending? Yes___ De hl f / ft bfx
IfNO, give the approximate date of disposition OL AZ _, Al? Lf

7. What was the result of the case? (For example: Was the case ale? ef
judgment in your favor? Was the case appealed?) Dé ple

I declare under penalty of perjury that the foregoing is true and correct.
———
Signed this /. day of _ of L4/Z=™ If.

SS yp po
ZL Sfp

Signature of Plaintift

Inmate Number FE Le -Z LE: T .

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Institution Address SZ GL Fapél)
LL. Litt GSS
NAezEN ELLA, {09
Maes Foie

Note: All plaintiffs named in the caption of the complaint must date and sign the complaint and provide
their inmate numbers and addresses,

—T rn
I declare under penalty of perjury that on this AS day of SUME , Lf. Tam delivering
this complaint to prison authorities to be mailed to the Clerk’s Office of the United States District Court for the
Eastern District of Pennsylvania.

a
=— —
Signature of Plaintiff: _S —— op. fa

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eh ‘ 7 rats Prison System

Inmate Grievance Form

Check box only if grievance is regarding Medical Services a

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CFCF 0

DCD
Hoc 0

PICC er

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Name __}vo he Dew < Sz. Housing Unit CQ Cou 18
Intake Number__(35.3 +7O®- Police Photo Number, 85.3 4O 3

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Description of Grievance, Incident or Problem
(include date and time of incident)

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* Action Requested by Inmate:

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See: Continuation of Grievance -Page2 Yes O No (]

Describe how and when you tried to resolve-this Grievance informally.

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Date atone dosing Grievance i inagrievance box: ““fP~ fy - fA

NS, Ff

{Signature of Grievant) ‘ (Date)

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Philadelphia Prison System beu
HOC
Inmate Grievance Form PICC
Check box only if grievance is regarding Medical Services
To sy ‘ R
Name _\i + = \. PR hE Se + Housing Unit CG : al Cou 12

Intake Number___2_ > 2" FWD Police Photo Number

Description of Grievance, Incident or Problem
(include date and time of incident)

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Action Requested by Inmate:

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Nr eo Garey ace Weve |
See: Continuation of Grievance -Page2 “Yes OJ No (J

Describe how and when you tried to resolve this Grievance informally.

RCE MY te iar OF, 9F-y,- 1%

Date that youa are depositing this Grievance in a grievance box: ,

WE af feo jo-4-33
(Signature of Grievant) (Date)

Tietrihitian: 1 Dannty Wardan far Adminictratinn 9 Warden 3 Tnmate’s Rareint nf Filing
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aOR

SICK CALL REQUEST
Dental Yo Medical Mental Health
Lo. Skene. Se- Inmate |.D. Number @s > Fos
(Print Name}

Social Security No. Sle 5S BCS

Housing-Unit: GQ Cau ise

Medical Problem (be specific): —§ Swot ieee OF aca - TTY NA tae eee § ED

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inmate's Signature ce etn ee Date: 4. Time
FOR MEDICAL UNIT USE ONLY
Disposition: __ i
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. Provider’s Signature: . ____ Date: Time:
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SICK CALL REQUEST f
Check one: ____ Dental ff Medical - Mental Health
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(Print Name)

Social Security No. Jie8 F8 2IS"O

Housing Unit: oo @ Cen /8
Medical Problem (be specific): Sau Suerec InG@ From Henan Acnes .
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Inmate's Signature <i, ——/ fa Date:_/°© isl I> Time:__3: 9 9 PM)
FOR MEDICAL UNIT USE ONLY
Disposition:

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SICK CALL REQUEST Lk
c ~ Lf
Check one: —___.___ Dentai —_____ Medical _~____ Mental Health
Name:_\@oy | Nilooge Se. Inmate I.D. Number OSS 40.3

(Print Name)

Social Security No, /28 S53 3950
Housing Unit GA Cem | 8
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Disposition:

Provider's Signature: Date: Time:
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eT; SICK CALL REQUEST Exe
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Name: \Ro8. L. (loohté
(Print Name}

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Mental Health
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Medical Problem (be specific)

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Medical Problem (be specific) LEASE. Ce te vay Ma Ay ttre. Fume al
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86-146 3

Time:

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SICK CALL REQUEST
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SICK CALL REQUEST

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(Print Name)

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Housing Unit: QA Ceu 18
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Provider’s Sianature: Date: Time:

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S
Affidavit

I, LARRY RooUACsEZ, Ppe st | 12USolG, , state under the:penalties of Pa.
C.T. 4904 relating unsworn falsification to authorize the following.

That is a sworn statement of the true facts of the following in behalf of rzox) sagt & pecs sue}

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Signature of A ftidavit

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BS

Affidavit

I, LAR Rr OOMIOUER. PPE H 11aF OIG , state under the penalties of Pa.
C.T, 4904 relating unsworn falsification to authorize the following.

That is a sworn statement of the true facts of the following in behalf of TRey Moonk pre estos

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Notary

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Signature of Affidavit

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Affidavit

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